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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON


NICHOLAS ALSTON,etc., et al.                      CASE NO. 3:18-cv-247


              Plaintiffs,                         (Judge Walter H. Rice)


                                                  PLAINTIFFS^ MOTION FOR
PHIL PLUMMER,SHERIFF OF                           VOLUNTARY DISMISSAL
MONTGOMERY COUNTY,OHIO

              Defendant.



       Now come the Plaintiffs in this lawsuit pursuant to Rule 41(a)(2) of the Federal Rules of

Civil Procedure and move the Court for an Order of dismissal without prejudice.

                                           Respectfully submitted,

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                                        MEMORANDUM


       Rule 41(a)(2) of the Federal Rules of Civil Procedure provides that, "an action may be

dismissed at the plaintiffs request...by court order, on terms that the Court considers proper." It

also provides that, unless the order states otherwise, such a dismissal is without prejudice.

       Much of a positive nature has been accomplished by individuals and entities with public

and professional interests in the disputes framed by the Plaintiffs' Second Amended Complaint.

There is reason to hope and anticipate that, with the continued good will of the litigants and

others, those accomplishments will continue.

       The Complaint in this lawsuit(Doc. No. 1) was filed on July 24,2018. It addressed issues

impacting inmate rights and public interests at the Montgomery County Jail, including jail

overcrowding, classification of inmates, imposition of punishment, grievance procedures and

concerns of health and safety. On September 11, 2018, the Plaintiffs filed a Motion for

Preliminary Injunction (Doc. No. 22) instructing the Defendant Sheriff to conform the inmate

population of the jail to the capacity standard of 443 individuals established by the State of Ohio

and to adopt and implement policies and procedures necessary for inmate and staff safety. A

First Amended Complaint(Doc. No. 28) was filed on October 12, 2018, and a Second Amended

Complaint(Doc. No. 33) was filed on November 1, 2018.

       Extensive discovery proceedings were conducted, as well as numerous Court conferences

on the issues presented. The hearing on the Plaintiffs' Motion for Preliminary Injunction was

later limited to issues raised in Counts III and IV of the Plaintiffs' Second Amended Complaint,

deferring broader issues for substantive consideration at the trial stage of the case (Doc. No. 35).

The hearing thus focused on the inmate grievance and disciplinary practices at the jail and

constitutional implications of those practices as defined and administered. A preliminary
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injunction hearing with multiple witnesses and exhibits was held from December 3, 2018

through December 5,2018.

       Since the time of that hearing counsel for the parties have had a series of conferences

with this Court and others in a joint effort to address ongoing and acknowledged problems at the

Montgomery County Jail. (See, Dayton Daily News 04/23/19 "it is well known, as far as spacing

goes, that we do not meet the jail standards for Ohio in most areas . . . .") While this litigation

has been pending the Montgomery County Commissioners engaged a study by a team of experts

to identify and make recommendations concerning such problems. At a conference of counsel

and the Court held on Jun 25, 2019 a progress report was presented on behalf of the County

Commissioners. Highlights from that report confirmed the following accomplishments during

the pendency ofthe litigation on subjects the litigation was designed to address:

       1.      The grievance process at the jail has been completely revised and dramatically

               upgraded by the installation of numerous strategically located kiosks for inmate

               use. Thus there is now a readily available method at multiple sites for inmates to

               present grievances and requests by computer keyboards in order to ensure

               effective communication and record keeping.

       2.      Inmate safety has been improved by intercom replacement, surveillance upgrades,

               and locking control system upgrades.

       3.      The average inmate population at the jail on a daily basis has gone from over 950

               inmates per day to just over 700 a day, and efforts are ongoing to continue

               reducing the recognized problems of jail overcrowding. Bunkbeds are being

               eliminated.




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       4.      The Courts are assisting in the effort to reduce the overcrowding conditions which

               are a significant root cause of many of the recognized problems at the jail.

               Seventy percent (70%) of the jail population continues to consist of individuals

               who are simply awaiting trial or disposition of the charges against them. Many of

               these inmates are not charged with crimes of violence and present no significant

               risk to society if released pending trial. Bail reform in the court system is being

               given serious consideration.

       5.      The components of the jail population have changed in recent years with

               increased numbers of women and of individuals with substance abuse or mental

               health issues. Medical and mental health issues are being addressed with

               increased staff and with consolidation and expansion of contracted health services

               at the jail involving significant cost increases.

       6.      The County is committed to invest significant funds in facility improvements with

               a goal of meeting current detention standards set by accrediting agencies.

       7.      Programs are in place to address and implement the recommendations presented

               by the 2019 CGL analysis ofjail conditions.

Plaintiffs' counsel are appreciative of these good faith efforts to address the issues that gave rise

to the litigation they have placed before this Court. We are hopeful that the spur of litigation will

not be necessary to assure positive progress in those efforts.

       By the same token we are aware that the future only becomes known as it passes through

the present to the past. In representing individuals who are or will become inmates of the

Montgomery County Jail we have a professional interest in protecting the legal and

constitutional rights of those individuals. In the present climate of positive effort by the County,
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the Sheriff, the Courts and all the other individuals and entities involved in improving the

conditions and operations of the County Jail, this lawsuit appears for the time being to have

served the goals sought by the individual Plaintiffs. We, therefore, ask that this lawsuit be

dismissed without prejudice to the reassertion of claims if the perceived need to do so recurs.



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                                 CERTIFICATE OF SERVICE


        This is to certify that on the   day of August, 2019, the foregoing document was filed

with the Clerk of Courts, United States District Court, Southern District of Ohio, by way of the

CM/ECF system which will send notification to all parties of record.


                                                   /s/ David C. Greer
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